                    UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:

Trishina Lin Jackson,                                   Case No. 21-47574-LSG
                                                        Chapter 7
     Debtor.                                            Hon. Lisa S. Gretchko
___________________________________/

                          DECLARATION OF DEFAULT

         Chapter 7 Trustee Mark H. Shapiro as follows:

         1.    I am fully competent to testify to all facts stated in this Declaration.

         2.    I am the Chapter 7 Trustee for the bankruptcy estate of Trishina Lin

Jackson, case no. 21-47574.

         3.    This Declaration of Default relates to the Order Approving

Compromise (“Compromise Order”), Docket No. 25, paragraph D.

         4.    Jackie Russell Jackson Jr. is in default of the Compromise Order

because he has failed to make any of the monthly payments, which were to start

April 1, 2022.

         5.    On May 17, 2022, my counsel issued written notice of the default

(Exhibit A) to Mr. Jackson, with a copy to Debtor’s attorney, giving seven days to

cure the default.

         6.    Under the terms of the Compromise Order, the Compromise Order

now constitutes a judgment in favor of the Trustee and against Jackie Russell


  21-47574-lsg      Doc 28   Filed 06/16/22   Entered 06/16/22 15:28:35     Page 1 of 4
Jackson Jr. in the amount of $8,000, plus interest and costs of collection, including

attorney fees; and the Trustee may take collection action under Fed. R. Civ. P.

69(a) to enforce the judgment. (Doc 25, Order ¶ D).

      I declare under penalty of perjury that the foregoing is true and correct.



                                              /s/ Mark H. Shapiro (P43134)
                                              Chapter 7 Trustee
                                              25925 Telegraph Rd., Suite 203
                                              Southfield, MI 48033
                                              (248) 352-4700
                                              shapiro@steinbergshapiro.com
Date: June 16, 2022




  21-47574-lsg   Doc 28    Filed 06/16/22   Entered 06/16/22 15:28:35   Page 2 of 4
                EXHIBIT A




21-47574-lsg   Doc 28   Filed 06/16/22   Entered 06/16/22 15:28:35   Page 3 of 4
21-47574-lsg   Doc 28   Filed 06/16/22   Entered 06/16/22 15:28:35   Page 4 of 4
